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 6   Attorneys for Counter-Defendant NEMAN BROTHERS & ASSOC., INC.
 7
                         UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
 9
10
11
12   NEMAN BROTHERS & ASSOC.,                 Case No.: 2:20-cv-11181-CAS-JPR
13   INC., a California Corporation;
14                                            EVIDENTIARY OBJECTION TO
               Plaintiff/Counter-Defendant,
15                                            DECLARATION OF WEIWEI LE
               vs.
16
17   INTERFOCUS, INC., a California           Date: August 16, 2021
     Corporation, et al.,                     Time: 10 a.m.
18              Defendant/Counter-Claimant
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                 EVIDENTIARY OBJECTION TO DECLARATION OF WEIWEI LEE
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 1                                EVIDENTIARY OBJECTIONS
 2
 3           MATERIAL OBJECTED TO                     GROUNDS FOR             COURT’S
 4                                                      OBJECTION              RULING
 5   2. In my capacity as Director of Operations Legal conclusion /
 6   for InterFocus over the past five years, I     hearsay / lack of       Sustained: ____
 7   have become familiar with the business of      foundation /
 8   InterFocus. InterFocus sells goods to          documents speak for
 9   consumers exclusively through its website      themselves.             Overruled:____
10   at https://us.patpat.com/.
11   InterFocus is a U.S. company that sells to
12   U.S. consumers, but it does not
13   manufacture the goods it sells, all of which
14   come from other companies, including
15   suppliers located in China. InterFocus also
16   outsources many of its IT, shipping and
17   other business functions, I handle various
18   business issues for Interfocus, such as
19   Legal, HR, Accounting, and projects that
20   need to be coordinated between Interfocus
21   and the Chinese companies with whom it
22   does business in delivering the goods
23   offered for sale on its online platform.
24
     3. As the Director of Operations, I also       Legal conclusion /
25
     work closely with InterFocus’ attorneys for lack of foundation /       Sustained: ____
26
     U.S. legal issues, including two lawsuits      documents speak for
27
     that Neman Brothers filed against              themselves. / hearsay
28
                                                                            Overruled:____


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 1   InterFocus. For the two Neman Brothers’
 2   cases, my involvement includes, but was
 3   and is not limited to, reviewing and
 4   forwarding all the physical letters that
 5   Interfocus receives from Neman Brothers;
 6   investigations in response to questions
 7   raised by opposing counsel or InterFocus’
 8   attorneys; following up on and obtaining
 9   the answers to all questions raised in the
10   litigation to the extent that information is
11   within InterFocus’ possession, custody, or
12   control; coordinating with InterFocus’
13   employees and, as needed, other companies
14   with whom InterFocus does business to
15   obtain information. I am also responsible
16   for gathering factual information and
17   collecting documents relating to the
18   lawsuits.
19
     2. As I mentioned above, this case is not      Expert’s testimony
20
     the first time InterFocus has been             without proper       Sustained: ____
21
     sued by Neman Brothers. Neman Brothers         foundation / Legal
22
     first sued InterFocus for copyright            conclusion without
23
     infringement in an earlier action also called proper foundation     Overruled:____
24
     Neman Brothers & Assoc. Inc v.
25
     Interfocus, Inc., Case No. 2:19-CV-10112
26
     that was filed in 2019.
27
28



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 1   3. Although InterFocus did not believe it       Documents speak for
 2   was liable for copyright                        themselves. /           Sustained: ____
 3   infringement in the earlier action, the         mischaracterization /
 4   investigation into the volume of sales I        lack of foundation
 5   supervised indicated that very few goods                                Overruled:____
 6   that Neman Brothers had alleged infringed
 7   its copyrights had been sold by InterFocus,
 8   and thus that spending money to defend the
 9   case did not make economic sense. Due to
10   the low volume of sales of the allegedly
11   infringed goods, and to avoid paying
12   litigation-related legal fees in a dispute in
13   which little was at stake, InterFocus
14   decided to settle Neman Brothers’ suit for
15   what we considered a “nuisance value”
16   amount. InterFocus entered into a
17   confidential settlement agreement with
18   Neman Brothers for that reason.
19   4. Because the settlement agreement is          Documents speak for
20   confidential, I cannot describe all             themselves. /           Sustained: ____
21   of its terms here. However, among other         mischaracterization /
22   things, that settlement agreement released      lack of foundation /
23   InterFocus from liability for all copyright     legal conclusion        Overruled:____
24   infringement claims Neman Brothers
25   asserted or could have asserted in that
26   action. Neman Brothers also agreed that it
27   will not file suit for future infringements
28   until 30 days after it gave InterFocus


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 1   written notice of them, so that InterFocus
 2   could cure them by removing the allegedly
 3   infringing goods from its website platform
 4   within seven business days as described in
 5   the settlement agreement. The terms are, of
 6   course, set forth in the settlement
 7   agreement itself. A true and correct but
 8   redacted copy of the settlement agreement
 9   signed by the CEO of InterFocus is
10   attached is Exhibit 2; a complete copy of
11   the settlement agreement is concurrently
12   filed under seal as Exhibit 3. As the Court
13   can see, that agreement was executed in
14   March 2020.
15
     5. InterFocus has fully complied with its     Lack of foundation
16
     obligations under that settlement agreement Legal conclusion
17
     since entering into it.
18
     6. In September 2020, InterFocus received
19
     a letter from the same attorney who had
20
     represented Neman Brothers in the prior
21
     litigation. I personally reviewed that
22
     letter. In it, Neman Brothers’ attorney
23
     claimed that InterFocus had engaged in
24
     additional copyright infringements. A
25
     true and correct copy of that letter is
26
     attached as Exhibit 4.
27
28



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 1   7. I personally investigated those claims, so
 2   that InterFocus could cure
 3   any alleged infringement as provided in the
 4   previous settlement agreement attached as
 5   Exhibits 2 and 3. I requested that, to the
 6   extent Interfocus was selling any of the
 7   allegedly infringing goods on its website
 8   platform, those goods be removed from its
 9   website immediately. I also requested that
10   I be provided with all available
11   information concerning the extent of
12   such sales, when InterFocus had stopped
13   selling the allegedly infringing goods.
14   Once I was advised that goods had been
15   removed from InterFocus’ platform as I
16   directed, I personally reviewed the
17   InterFocus website to confirm that the
18   allegedly infringing goods had been
19   removed.
20
     8. As stated in the September 2020 letter
21
     (Exhibit 4), Neman Brothers
22
     alleged copyright infringement of the
23
     following fabric patterns on the following
24
     goods:
25
26
27
28



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 1
 2
     9. I was informed that all of the above
 3
     alleged infringements were
 4
     removed from InterFocus’ online platform
 5
     within a few days after receiving Neman
 6
     Brothers’ September 2020 letter. My own
 7
     review of the InterFocus platform
 8
     confirmed such removal.
 9
     10. In addition, our investigation         Misstatement of facts
10
     determined that three of the alleged       (Interfocus’ letter on
11
     infringements had been removed from        October 5, 2020
12
     InterFocus’ online platform since before   admits the garments
13
     InterFocus entered into the settlement     were not removed
14
     agreement with Neman Brothers in March     until September 16-
15
     2020. Those three alleged infringements    17, 2020. Ex. 33.)
16
     are as follows:
17
18
19
20
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                  EVIDENTIARY OBJECTION TO DECLARATION OF WEIWEI LEE
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 1
 2
 3   11. Our investigation had determined that
 4   we did have the other three fabric patterns
 5   on our online platform as of the date of the
 6   September 2020 letter:
 7
 8
 9
10
11
12
13
14
15
16
     12. My personal review of InterFocus’
17
     online platform confirmed that they were
18
     removed from InterFocus’ platform within
19
     seven business days of our receipt of
20
     Neman Brothers’ September 2020 letter as
21
     described above.
22
     13. Once I confirmed that InterFocus had       Hearsay.
23
     removed the alleged infringements from its
24
     platform as provided in the previous
25
     settlement agreement, I asked InterFocus’
26
     then counsel to so advise Neman Brothers
27
     in a letter. Attached as Exhibit 5 is a true
28



                                            8
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 1   and correct copy of the letter dated October
 2   5, 2020 sent to Neman Brother’s counsel.
 3
     14. In connection with our investigation, I    The chart is hearsay
 4
     requested that a chart be prepared that        (it was prepared in
 5
     included all six of the alleged infringing     anticipation of a
 6
     garments described in the September 2020       litigation, not a
 7
     letter and when each garment had been          business record
 8
     removed from InterFocus’ online platform,      created and
 9
     I provided InterFocus’ then counsel with an maintained in the
10
     early version of that chart, and it appears    ordinary course of
11
     in Exhibit 5. However, further                 business. Interfocus
12
     investigation determined that in two           never produced real
13
     instances, the dates on which the alleged      business records such
14
     infringements were removed from                as invoices, orders,
15
     InterFocus’ platform were erroneously          etc.)
16
     stated to be 2020, when in fact, they had      Lack of foundation as
17
     been removed even earlier in 2019. An          to the claimed error in
18
     updated chart that truly and accurately        stating the year. (no
19
     describes when all six of the alleged          real business record
20
     infringements Neman Brothers described in was ever produced to
21
     its September 15, 2020 letter were removed show they were taken
22
     from InterFocus’ platform is set forth         down in 2019.)
23
     below.
24
25
26
27
28



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 3
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12
13
      17. After the October response letter,          Misstatement of facts
14
      through their counsel, Neman Brothers           (it simply makes no
15
      and InterFocus tried to settle their            sense to say she was
16
      dispute by negotiating an overall license       confused with the
17
      agreement between them, but they were not complaint after failing
18
      able to do so. I am not aware of any written to settle the dispute.)
19
      claim of new alleged infringements in
20
      those settlement discussions. Neman
21
      Brothers filed its complaint alleging
22
      copyright infringement against InterFocus
23
      on December 9,2020. I was confused by
24
      the complaint, because it identified the
25
      same alleged infringements Neman
26
      Brothers had identified in its September
27
      15,2020 letter (Exhibit 4), even though we
28



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 1    had removed all of those alleged
 2    infringements
 3    from our platform before we entered into
 4    the previous settlement agreement or
 5    within seven business days after receiving
 6    Neman Brothers' September 15, 2020
 7    letter as provided in the settlement
 8    agreement.
 9
      19. I have spent more than 100 hours on       Lack of foundation
10
      this Neman Brothers case. InterFocus has      Irrelevant
11
      also incurred significant legal fees
12
      defending this action'.
13
           IT IS SO ORDERED.
14
           DATED:
15
16                                           __________________________________
                                             Honorable Judge Christina A. Snyder
17
18
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28



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                   EVIDENTIARY OBJECTION TO DECLARATION OF WEIWEI LEE
